                                                                                                                 rmeeT#,ftil:l*rr
AO 243 @ev.09/17)

                         MOTION UNDER2S U.S.C. $ 2255TO VACATE, SETASIDE, OR                                 .ffi.,             JUN   0t lzulzt t         j
                                      SENTENCE          BYA    PERSON INFEDERAL CUSTODY                          '   .--^-
                                                                                                                        -' *^.:I'
                                                                                                                         -
                                                                                                                                                         {.f
United States District Court                                          District   o? N<^t lvl.ri or,-*                                    trtfE
Name     @*r.U"t )ot werc coneict$.                                                                         Docket    or'CaseXbln^
  M:rctJAEL       IAt^Es AllssEr{                                                                             li lg-c8 -ooo11 5B
Place of Confinement:                                                                    Prisoner No.:
 CDe€ csttc- Cof<RWZon 5 CEYEK                                                                pzroy lst
TJNITED STATES OF AMERICA                                                            Movant linch*      natte wder wtnch cot*icted)
                                                                V.
                                                                              t-1,   c4nr.t JI+AES N/;SS+J
                                                                     MOTION

    l.    (a) Name and location of court which entered the iudqment ofconviction vou are challencinc:

         t)n,'k) Skl.s D;sl.;-l.c',',";+. h- th- Disl.icl itr                                                                 Ne,^t    Ncfic'o
         iZZ tr"^ " Bruleno4, No-.{h";cs*
         ALBaQ tl;c<qu7 . NLld l4*o       ?ntoZ-
                                                                           i,1       -   4:
                                                                                                  =@a] L
          (b)Criminaldocketorcasenumber(ifyouknow): I

    2.    (a) Date ofthe judgment        of              (ifyou know):
          (b) Date ofsentencing: 0 &                    zoz-l
    3.    Length of sentence:
                                     Nh
    4.    Nature of crime (all    counts):
                                                If       bl,   s,L, + y?9()
         Lctr-tw;.+) o,,.1 l,,o L,aa{3                                                   "
                                                                                              F      ly u,5,L,l e?fG)

    5.    (a) What was your plea?. (Check one)
                 (r) Notguilty
                                   ffi                     (z) cuilty     I                       (3) Nolo contendere (no contes!       !
          (b)   Ifyou   entered a guilty plea to one count or    indictnen! and a not guilty plea to another count or indictrrent,
          what did you plead guilty to and what did you plead not guilty to?




   6.     Ifyou went     to trial, what kind   offial   did you have? (Check one)                     nvE                 Judee   odyf]
   7.     Did you testifr at a pretrial hearing, trial, or post-trial hearing?                Yesf]                          N.E
                                                                                                                                       Prgp2   of   13
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    8.    Did you appeal from thejudgment of conviction?             ves   I             UOEI
    9.    Ifyou did appeal, answer t       following:
          (a) Name of court: N/
          (b) Docket or case            (ifyou know):
          (c) Resuft: N
          (d) Date of result (if you   know),       /V
          (e) Citation to the case (if you know):
          (f) Grounds raised:


                                         rlo

          (g) Did you file a petition for certiorari in the United States Supreme   Court?   Yes    !           *"EI
                lf "Yes," answer the following:                 ,t
                (l) Docket or case. number (if you f.nort1,   N/A
                rzln.olt, Nlt
                           t


                (3) Date ofresult (ifyou   know): N
                (4) Citdion to the case (if you   know): N
                (5) Grounds raised:




                                           ^lo
   10.    Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
          conceming this judgment ofconviction in any court?
            vesffi NoE
   11.                                              "ift; D:*ri+-e;- F'- *he D;rL ;J ,Fn{*Aeriar,
          lf your answer to Question l0 was "Yes," give the following information:
          (a) ( r) Name   or."*,*"y;';Lj
                (2) Docket or case number (ifyou know):
                (3) Date of filing (if you know):




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              (4)     Nature of the proceeding:
              (5)     Crounds raised:


                                        C.,"'{;l*-l-io^..                    I Dr#';,"" V'., l^4i"s

              (6)     Did you receive     a   hearing where evidence was given on your motioq petition, or application?
                         ves    !             NoEI
              (7) Result: N
              (8) Date of result (if you know): N
         (b) Ifyou filed any second           motio.n, petition, or applioatioq give the same information:
              (l)     Name of       court: N IX
              (2) Docket of case number (ifyou
              (3) Dateoffiling(ifyouknow): N
              (4) Nature of the proceeding: /tl
              (5) Grounds raised:

                                                 rlo


              (6)     Did you receive     a   hearing where evidence was given on your motion, petition, or applicafion?
                         Yes    I             uoEl
              (7)     Result:
              (8)     Date of result    (if you know): ly'
         (c) Did you      appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,
         or application?
              (l)     First petition:              v".E           NoE
              (2)     Second petition:             vesI           uoEl
         (d) If you did not     appeal from the action on any motioq petition, or application, explain briefly why you did not:

            Fi-s* p.fiiio,^
                          i t,,.iy F,'1.) , LJ ,nno-o,J ),''J-no4- tvr*-rJ
                                                 Lu,
          *, F"*h.. 6,5 rcrrnJ oF *h.-' ;;:,"1 uill sl,nt^t,
                                                                                                                           Plge 4 of   13
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       12.    For this motion, stat€ every ground on which you claim that you are being held in violation ofthe Constitution,
              laws, or heaties of the United Starcs. Attach additional pages if you have more than four grounds. State the facts
              supporting each ground. Any legal arguments must be submithd in a separate memorandum.

     cRoUNItoNE:             psi         D"-l.J                         ?.occs         @F    t-,^J                     I ?."k-l;o.
    .       (a) Supporting
                Supoortine facts (Do
                                 @o not.argue.or crle law. Just stale
                                     not,arguepl cite                  the specific factp
                                                                state lhe                                   claim.)r i r*
                                                                                    factq that support your claim.):   m ii -I-,o- l
 J etnt-5      1..tigg<'n , p ri rra*-<. llwtn1           ,+r a.rn in         Qe i v-**c- ca.p<-c-ilg ha,.t.ej o.o-.....d            ir..
   r,ur^.'t|en pe*ilrjri l><-{ore- tl^.--".J.a..ir,is}'-..J*tye- a1e-ic-y /o- a .4J-5+-1
  r^)3-Li.olivc In<.t-i6.1 ,,1+               iwinl
                                                     )e.Jo. o-|ory arJ,c-r f",!-*:Tl\-,i|                                  *;,.+l
  7.,J^.s 'inirgert , p.inn(c-              f           v*14.-\ -'A 5a.L3u-f *o t-ln<- 5{*)*.{<-lao)c.- f.r
 ;;i;             .ros' ,L^u;clc-! on, )o.ll ,aFF; l^vil, )." fo-alio^s, -,ol,i/d5 , ?n4 o
 /cPv or€ Ii.tlciscnt-
               efrcr     5<nT      IQ             r. tl^ti;I
                                   +o 'f vr <- erTrr r sal- s+oJ-.i')i]-I.1
                                                                ) !'a' \-> e ' rsr-"t'-f       Jsr-'   1^'.ol'"}/;:;!;;J
                                                                                                         41 Y' v\ (-
IJll bv crrc clrrr'c corrc:c-{r'r,-t5 cer\+er c-or1 c'er,4i^'1- thiS ua*ka uver<- a'll
'i:ill ,.,{-t lhe-r:-corJ oF fh<. .o--* in t}".- v-to,aL\ e L vna*y,Toal , ,-.Jch..-l )aw,e5
Il!f,;        is b.i-..r Ja^iJ )-*<- paoc<-SS                      by ,-he .rJ.n,,',,r':1r..*tv<.4.1.r.<-Y fa,- <
 li*r-*+.) o J.',^J'l c..lt-- h€-<F';hl q., J Jcc I tv.q-lg'r / orJcs. d ct<,'". t'n                                             -in
                                                                                                                                "n1
rjj-i:e-"ts..e:*:im;luE,rl^*?,:*!;if #i-t'f, 2Ll.'Jr"!?:'*f;;
X^t:*f w5[t:lH;#:]Hi:'#)'df.frli,;!:;*l-r#*iF;*!rrf *vi:*d-                                                                             t



                   (l)     Ifyou appealed from      the judgment of   convictioq did you raise this issue?
                              ves!
                   (2)                           "oE
                           Ifyoudidnotraisethisissueinyourdirectappeal,explainwhv:
                                                                                                 -,- m).l"o.e) T..,*_es N )ssen
                  W:;llr!i*J,X f
                                                           n h^" ^'+                  *rrJtJ r'''^ *n' J"^1t""'"'*+
             (c) Post-Conviction Proceedings:
                   (l)     Did you raise this issue in any post-conviction motioq petitioq or application?

                              "*EI N"fl
                  (2) Ifyou answer to Question (c)(l) is "Yeg" state:
                  Type of motion or petition: L6        l), 5 , C- . * 275€
                  Name and locafion of the court where the motion or oetition was filed:

                                                          ;.{ C^*                 VZ3lj,,^^,, Br_lr*"J
                  Docket or case     number (if you
                  Date of the court's decision:
                  Result (attach a copy ofthe court's opinion or order, if available):

                                         t/a
                  (3)      Did you receive   a   hearing on your motioq petition, or application?
                              Yes                *oEl
                                                                                                                       Page 5   of 1l
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             (4)     Did you appeal from the denial ofyour motion, petition, or application?
                         ves[          *oEl
            (s) Ifyour answer to Question (cX4) is "Yes," did you raise the issue in the appeal?
                         voE
            (6) lfyour answer to Question (c)(4) is "Yes," state:
            Name and location of the court where the appeal was filed:


            Docket or case number      (ifyou know):       y'
            Date of the court's    decision: N
            Result (attach a copy of the courtos
                                                                "*";i*'""
            (7) If your answer to Question (c)(4) or Question (c)(5) is 'Nq" explain           why you did not appeal or raise this
            issue:                   I      i        \
                         r fon
                   N,o ofFc.ql
                     ,                                   yr1 i r lno. I
                                           ^-r".,.5 niss..'r tn
                                                                ly           )
            F;l"J zt u,s,(, +z-zf, on J J;J .* 7,ou-) ^ny
           fr*L,- *;+h f;b) 28 u'5, (, + LL55
GROI]IIDTWO:


        (a) Supporting frcb @o       not argue or cite   law. Just staie the specific facts that support your claim.):




                                     ,lo


        (b) Direct Appeal of Ground TWo:
            (I   )   If you appealed from   the judgment of conviction, did you raise this issue?

                         YesI          NOfI


                                                                                                                          P€e   6   of   13
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              (2) Ifyou did not raise this issue in your direct appeal, explain      why:




         (c) Post-Conviction Proceedings:
              (1)     Did you raise this issue in any post-conviction motion, petition, or application?
                         ves   I        NoE
              (2)     If you answer to Question (c{l) is "Yes," state:
              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (ifyou know):
              Date ofthe court's decision:
              Result (dtach a copy ofthe court's opinion or order, ifavailable):




              (3)     Did you receive a hearing on your motioq petition, or application?
                         ves   fl        uo   f]
              (4)     Did you appeal from the denial ofyour motion, petition, or application?
                         ves[            NoEI
              (5)     If your answer to Question (cX4) is "Yes"" did you raise the issue in the appeal?
                         Yes!            NoE
              (6)     Ifyour answer to Question (cX4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number (ifyou know):
              Date of the court's decision:
              Result (attach a copy ofthe court's opinion or order,      if available):



              (7)     If your answer to Question (cX4) or Question (cX5) is     'Nq"      explain why you did not appeal or raise this
              issue:




                                                                                                                             Page 7   of   13
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GROI]NDTHREE:


         (a) Supporting      facts @o not argue or cite   law. Just state the specific facts that support your claim,):


                                          ,/o



         (b) Direct Appeal ofGround Three:
             ( I ) If you appealed from the judgnent of convictioru did you raise this issue?

                          ves[            Nofl
               (2)     If you did not raise this issue in your direct appeal, explain whyl



         (c) Post-Conviction        Proceed ings:
               (l)     Did you raise this issue in any post-conviction motion, petitio4 or application?
                          ves[            Nofl
               (2)     If you answer to Question (c)(1) is 'Yes,"   state:

               Type of motion or petition:
               Name and location of the court where the motion or petition was filed:


               Docket or case nurnber     (ifyou know):
               Date of the cout's decision:
               Result (attach a copy ofthe court's opinion or order, ifavailable):




               (3)     Did you receive a hearing on your motion, petition, or application?
                          v*E             No   n
               (4)     Did you appeal from the denial ofyour motiorq petition, or application?
                          ves!            uo   E
               (5) lfyour arswer      to Question (c)(4) is "Yes," did you raise the issue in the appeal?
                          ves[            NoE

                                                                                                                          Page 8   of   13
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             (6)    If your answer to Question (c)(4) is "Yes,"       state   :

             Name and location of the court where the aDo€al was filed:


             Docket or case number (ifyou know):
             Date of the court's decision:
             Result (attach a copy of the court's opinion or order,           if available):



             (7)    If your answer to Question (cX4) or Question (c)(5) is 'No," explain why you did not appeal or raise this
             issue:




GROI]ND FOTJR:


        (a) Supporting      facts (Do not argue or cite   law. Just   state the specific facts that support your claim.):



                                 rlo


        (b) Direct Appeal of Ground f,'our:
             (l)    Ifyou   appealed from the judgment of conviction, did you raise this issue?
                       ves[             uoE
             (2) Ifyou did not raise this issue in your direct appeal, explain why:


        (c) Post4onviction Proceedings:
             (l)    Did you raise this issue in any post-conviction motiorl petitioq or application?
                       vesI             uoE
             (2) Ifyou answer to Question (c)(1) is "Yes," state:

                                                                                                                            Page 9   of l3
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              Type of motion or petition:
              Name and location of the court where the motion or petition was filed:


              Docket or case number (ifyou know):
              Date of the court's decision:
              Result (attach a copy of the court's opinion or order, if available):




              (3)     Did you receive   a   hearing on your motion, petition, or application?
                         voE uofl
              (4)     Did you appeal from the denial ofyow motion, petition, or application?
                         YoE                Nof]
              (5)     If your answer to Question (c)(4) is "Yes," did you raise the issue in tle appeal?
                         vofl               uoE
              (6)     Ifyour answer to Question (c[4) is "Yes," state:
              Name and location of the court where the appeal was filed:


              Docket or case number         (ifyou know):
              Date of the court's decision:
              Result (attach a copy ofthe court's opinion or orda, ifavailable):




              (7)     Ifyour answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or raise this
              issue:




  13.    Is there any ground in this motion that you have 4g previously presented in some federal court?      If so, which
         ground or grounds have not been presented, and state your reasons for not presenting them:




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  14,    Do you have any motiorL petition, or appeal polU pendisg (filed and not decided yet) in any court for the
         you are       challenging?          von                  *o
                                                                       El
         If"Yes,"       state the narne and location    ofthe court the docket or   case number, the type ofproceeding, and the

         issues raised.




  15.     Give the name and address, ifknown, of each afiomey who represented you in the following stages ofthe
         judgment you are challenging:
         (a) At the preliminary hearing:
                             +,' G l.,i                      Jot k              .h;+,
         (b) At the arraignment and plea:

               Mel;r<o No., i s
         (c) At  trial:
                    the

                        Gle.t
             Jlc- R,r .-a
         (e)   appeal: . t
               On
                    Nlx
         (f) ln any post-conviction proceeding:
         5                                f)         oe                c-rt
         (g)   On appeal from any                against you in   a post-conviction proceeding:


               u/^
 16.     Were you sentenced on more than one court of an indictrnen! or on more than one indictment, in the same court
         and at the same      time?               Ves   [            "r El
 17.     Do you have any future sent€nce to serve after you complete the sentence for the judgment that you are
         challenging?                  ves   !              No   E
         (a) If   so, give name and location of court that imposed the other sentence you         will   serve in the future:


                  N l^
         (b) Give the date the other sentence was imposed:
         (c) Give the length ofthe other sentence: N
         (d) Have you filed, or do you plan to file' any motioq petitioq            or application that challenges the judgment or
         s€ntence to b€ served in tlrc     future?               Ves   p        No   E
                                                                                                                                PaSellof   13
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  18.   TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
        why the on€-year statute of limitations as contained in 28 U.S.C. $ 2255 does not bar your motion.*




     + The Antiterrorism and Effective Death Penalty Act       of 1996 ('AEDPA')     as contained in 28 U.S.C. $ 2255,
     paragraph 6, provides in part that:
        A one-year period of limitation shall apply to   a   motion under this section. The limitation period shall run
        from the latest of   -
             (1)  the date on which the judgment of conviotion became final;
             (2)  the date on which the impediment to making a motion created by govemmental action in violation of
             the Constitution or laws of the United States is removed, if the movant was prevented tom rmking such a
             motion by such govemmental action;
             (3) the date on which the right asserted was initially recognized by the Supreme Courq if fiat right has
             been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
             review; or
             (4) the date on which the facts supporting the claim or claims presented could have beon discovered
             through the exercise ofdue diligence.


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Therefore. movant asks that the Court erant the followins relief:


                                                        en+         fi-         bein              )rn,'J Jr.                            55
or any other relief to which                                                                      a.il    ,




                                                                                    e   of Attomey (if any)




I declare (or certifr, veriff, or state) under penalty of perjury that the forego       gls
nnder 28 U.S.C. $ 2255 was placed in rhe prison mailing system on O,                    ZL
                                                                                              (montlq date, year)




                      u1.,   o7f
Executed(signe
                                   'tf "'/                              1*r.1




If the person signing   is not movan! state relationship to movant and explain why movant is not signing this motion.




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